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                                                              April 25, 2019


               ELECTRONICALLY FILED

               Hon Brian M. Cogan
               United States District Court
               Eastern District of New York
               225 Cadman Plaza East
               Brooklyn, NY 11201

                                                                 Re:      United States v. Mark Nordlicht, et al.,
                                                                          16-Cr.-640 (BMC)

               Dear Judge Cogan:

                       Mark Nordlicht writes by this letter to respond to the letter dated April 24, 2019 of third-party
               subpoena recipients Mark P. Goodman and Michael B. Mukasey, attorneys at the law firm of
               Debevoise & Plimpton LLP (“Debevoise”) (See Docket Entry No. 662), as well as this Court’s Order
               for a proffer of proposed testimony and documents.

                      First, as to the subpoena served on Mr. Goodman, upon further investigation, we agree that
               the subpoena should be withdrawn and thus hereby do so. That said, no one purportedly copied on
               counsel’s April 22, 2019 email inquiry, which was attached to Debevoise’s letter motion, received it,
               so we believe it was may not actually have been properly even sent to counsel.

                       As to the subpoena served on Mr. Mukasey, we fully intend to call Mr. Mukasey as a trial
               witness. In 2013, during the heart of the alleged conspiracy, Mr. Mukasey was hired to oversee an
               audit of relevant Platinum practices, including valuation, redemption procedures and related-party
               transactions, as well as review the offering documents and disclosures. Mr. Mukasey was retained for
               approximately five months exactly during the charged time period, and his work could not be any
               more relevant to the facts at issue in the criminal trial at bar. Counsel’s contention that this is a “fishing
               expedition” could not be further from the reality of the situation. At a bare minimum, the mere fact of
               Mr. Mukasey’s representation is germane to Mr. Nordlicht’s state of mind and intent. Would someone
               engaged in an extraordinary fraud hire the former Attorney General of the United States – a partner
               at a prestigious, white-shoe law firm – to conduct the work of overseeing reviewing the very
               documents that are at the core of the so-called conspiracy? This wasn’t a fly-by-night attorney hired
               to give cover to a fraud; this was one of the nation’s elite lawyers, who served as the nation’s top law
               enforcement official and ran the U.S. Department of Justice.
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           The mere fact of his representation is critical and of course has bearing, despite counsel’s
contention to the contrary, on whether Mr. Nordlicht acted with criminal intent. As to a more specific
proffer, we intend to ask the witness about the fact of his representation, the scope of his
representation, and any underlying non-privileged documentation related to this representation. We
seek to have the witness bring any non-privileged work documents regarding this representation in his
possession with regard to this representation, including specifically attorney retention agreements
showing the scope of Mr. Mukasey’s work. Vingelli v. United States, 992 F.2d 449, 452 (2d Cir. 1993),
citing In re Grand Jury Subpoena Served Upon Doe, 781 F.2d 238, 247 (2d Cir.) (en banc), cert. denied, 475
U.S. 1108 (1986); In re Shargel, 742 F.2d 61, 62 (2d Cir. 1984); Colton v. United States, 306 F.2d 633, 637-
38 (2d Cir. 1962), cert. denied, 371 U.S. 951 (1963); United States v. Pape, 144 F.2d 778, 782-83 (2d Cir.),
cert. denied, 323 U.S. 752 (1944). Counsel for Mr. Mukasey has identified no special circumstances here;
in fact, counsel’s publicly filed letter with the Court itself acknowledges the representation. (See
Docket Entry No. 662) (“Debevoise performed work for Platinum Management (NY) LLC from
approximately March 2013 to August 2013.”) The Second Circuit has reiterated on numerous
occasions that the attorney-client privilege “should be strictly confined within the narrowest possible
limits underlying its purpose.” United States v. Goldberger & Dubin, P.C., 935 F.2d 501, 504 (2d Cir. 1991)
(citing, inter alia, In re Grand Jury Subpoena (Shargel), 742 F.2d 61, 62 (2d Cir. 1984)); accord, e.g., In re County
of Erie, 473 F.3d 413, 418 (2d Cir. 2007); Int’l Bhd. of Teamsters, 119 F.3d 210, 214 (2d Cir. 1997). The
identity of Debevoise’s client is not a secret. Nor has Debevoise cited anything of a confidential nature
that might be revealed by production of the retainer agreement. And to be clear: none of the proffered
testimony will relate in any way to prosecutorial misconduct by former Assistant U.S. Attorney
Winston Paes, despite the fact that Mr. Paes joined Debevoise at the exact time he was overseeing the
Platinum case.

        The testimony we seek is clearly relevant, specifically identified, admissible, and not otherwise
procurable. See United States v. Nixon, 418 U.S. 683, 699-700 (1974); see United States v. Rivera, No. 13-
CR-149 KAM, 2015 WL 1540517, at *3 (E.D.N.Y. Apr. 7, 2015). We respectfully submit that the
letter motion by third-party subpoena recipient Michael Mukasey to quash Mr. Nordlicht’s subpoena
be denied.

                                                     Respectfully submitted,



                                                     Duncan P. Levin, Esq.
                                                     Counsel for Mark Nordlicht
                                                     (212) 330-7626



cc:     All parties (via ECF)
